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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

    Christian Employers Alliance,

                                        Plaintiff,
                                                                           Case No. 1:21-cv-195
    vs.

    United States Equal Opportunity
    Commission, et al.

                                      Defendants.


          ORDER GRANTING MOTION TO AMEND SUMMARY JUDGMENT ORDER
          PURSUANT TO RULE 59(E) AND 60(B) OF THE FEDERAL RULES OF CIVIL
                                   PROCEDURE



[¶1]       THIS MATTER comes before the Court upon a Motion to Amend Summary Judgment

Order Pursuant to Rule 59(E) and 60(B) of the Federal Rules of Civil Procedure filed by the

Defendants on March 22, 2024. Doc. No. 86. The Defendants indicate the Christian Employers

Alliance (“Plaintiff”) does not oppose the Motion, and the Plaintiff has not filed a response. Id.

The Defendants ask this Court to clarify the Defendants do not violate the permanent injunction

by taking any action under either Section 1557 or Title VII as to any people or entities that

Defendants are unaware are covered by the scope of the injunction, provided that defendants

promptly comply with the injunction upon receiving proper notice that a person or entity is covered

by the injunction. Id.

[¶2]       Having considered the Defendant’s unopposed Motion and the entire record herein,1 the


1
  This includes the Defendants Motion to Amend Injunction Order. Doc. No. 43. The only
difference between this Motion and the Defendants prior Motion to Amend Injunction Order is the
Defendants are seeking to amend the Permanent Injunction issued by this Court, not the
Preliminary Injunction. See Doc. Nos. 44, 86. Having already considered the Defendants’
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Court GRANTS the Defendants Motion to Amend Summary Judgment Order (Doc. No. 86).

[¶3]   IT IS HEREBY ORDERED that the Court’s Summary Judgment Order (Doc. No. 82) is

modified on page 20 to include the following language:

       (1) HHS, Secretary Becerra, EEOC, Chair Burrows, and their divisions, bureaus, agents,
       officers, commissioners, employees, and anyone acting in concert or participation with
       them, including their successors in office, do not violate this order or the Court’s judgment
       by taking any of the above-described actions against any CEA member, anyone acting in
       concert or participation with a CEA member, or a CEA member’s health plans and any
       insurers or third-party administrators in connection with such health plans if the agency
       officials directly responsible for taking these actions are unaware of that person or entity’s
       status as a CEA member or relevant relationship to a CEA member.

       (2) However, if either agency, unaware of a person or entity’s status as a CEA member or
       relevant relationship to a CEA member, takes any of the above-described actions, the CEA
       member and the CEA may promptly notify a directly responsible agency official of the fact
       of the member’s membership in the CEA or the person or entity’s relevant relationship to
       a CEA member and its protection under this order and the Court’s judgment. Once such an
       official receives such notice from the CEA member and verification of the same by the
       CEA, the agency shall promptly comply with this order and the Court’s Judgment with
       respect to such member or related person or entity.

[¶4]   IT IS SO ORDERED.

          DATED April 9, 2024.




                                                     Daniel M. Traynor, District Judge
                                                     United States District Court




arguments and finding them reasonable, the Court hereby incorporates the reasoning and analysis
from its previous Order Granting Motion to Amend/Correct into this Order. See Doc. No. 44.
